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STATE OF NGRTH CAROLIHA

bomer oF cABARRUS _
2 IH=THE GENERAL coURT GF JUSTIGE
' sUPERIOR coUR'r D_IV_ISIQN "
DocKET HUMBERS 76035708,
vs.
AND 76c35709 coNsoLmnATED
ao:m:»: wmc;~: 113119,

DEFENDM-E §

VDLUME II

APPEARM¢ES:
FoR THE s‘rATE: Jameé E. Rober;-.s, mscrict A‘.-.ty.
Rona.ld Bowers, Asst. Dlstrict At‘by.'

FOR THE DEFENDANT: Ca.r'l Atl<ins , Esquire
- Ja.mes Fuller, Esquire

Evoyrme Mims , Esqui_re

THIS CAUSE coming on to be heard and then heard
at the Sept'ember 27, 1976, _Crimina.l Sess:\.on. _of the

4 Superior Court for 'Ca.ba.rrils County, before H:Ls Hor_lor

william z. woods, wage Presiaing, and {-,he Jury being 1
first duly sworn and empanelled , the following priz-
ceedi.ngs were had to wit:

 

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PRE-TRIAL MOTION TO SUPPRESS n'VIDEl\TCE.

MR. ATKINS: We would move at this time to conduct a
VOIR DIRE on identification of prosecuting witness _~
'of the defendant, and also move to suppress certain
photographs which were shown to the prosecuting

witness.including a picture of the defendant.
JURY ours
DIRECT EXAMINATION BY RONALD J. BOWERS:

I-'_VB.S. GR.AY BOST, BEING FIRST ‘DULY S1*10RN, TESTIFIED AS
FOLLOWS:

Q State your name and addrees, please ma!am.

A Mrs. Ray Bost, 158 Union Street, South.

0 Hrs. Eost, did you live et that same address on the
eztn of Aprii of_1976? '

Yes.

What day of the week was that, me'em?

On_a Sunday.'.

What did_you do that day.

¥¢>éDiI>¢O$>

Well§ I went to church end I came home, and then I

went to the post office about l:30, and then I came home»

to wait on some visitors, my nephew was coming to visit

me and they came, I'don't Know what time, maybe three or

 

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'round about that time and they left about five or five-

d thirty. I went to the hall with them and came back in

'the house and started getting my clothes ready to take a

trip the next day.

Q Where were you going the next day?

A To the beach.

Q And would you describe the residence in which you .
live as to the description of the house?

A Well, I have a bedroom on the back of the house, and
a bathroom beyond that, and I have a den next to the bed-
room, and.I have a long hall between...all the way,...
well, all the way through the house, and the kitchen is
on the right hand side on the back of the house.

Q On which side of the hall is the bedroom? The bed-
rooms?

A On the left.

Q And were those rooms directly across from each other?
A Yes, they join.

Q Where is the den that you described?

A It's the second room.....it's the first room in the
hall aree, on the left.

Q Does it adjoin your bedroom?

A YeSa

Q Is there a door between the bedroom and the den?

A

Yes.

 

 

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-the time.

 

 

 

 

 

 

 

 

Q ln other words, you can go from your bedroom to the
den without going into the hall?
Right.

Is your house a one story house or a two story house?

A
Q
A Two story house,
Q Where is the stairway to the second floor?

A_ 'In the front part of the house.

Q _ And when you came in and packed for the beach, was
your house locked then?

A_ Yes.

Q Describe how you locked your house.

A. Well, l kept the front part of the house locked all
The back part of the house has two doors. l
have a door onto the back porch and one into the yard,

and l have one lock on the door going into the back porch

and two locks on the back door going into the_yard.

Q'_ So, the back is the porch that is closed in. ls that
correct?
A Right.

Q Did you have the screen door to that locked?

A Yes. `

Q And then there's another door into the main portion
of the house?

A Yes.

Q And you had that locked?

 

 

 

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147
A .es.

m Q what did you do that evening?'

`A well, l was trying to get food ready to take to the

beach and I had telephone calls to make to my friends,
the two girls that were going to ride with me, and I_
started trying to get in touch with them. ‘I think it.was
about 6:30, and I hept calling and I couldn't get an
answer to either house, and so I would go to the kitchen.
`and try to fix some food to take to the beach. Then I
went into the den where I have a closet that I heep
closed, and I picked up clothes from there, and I went
into-the bedroom and I got clothes out of that closet,
and I again tried to get my friends on the phone, and I_
turned the television on and l sat there and watched
television a little bit until 1 could think or something
else that I had to do.

Q In what room were you?

A The den.

Q Go ahead.

A And then I read the¢...got the Sunday paper and
looked at the TV guide. 4

Q In what room were you in?

A The den.

Q Go ahead.

A

I went back to the telephone to telephone, and I

 

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finally got one friend and l talked......who was not

going to the beach.

'Q Where were you then, ma'am?

A lIn my bedroom on the bed.

Q Go ahead.

h And-Z finally got her and l talked to her for about

I guess thirty-five or forty minntes. Her mother had died
and I hadn't seen her since she got back to town. Andl
then I tried to make several more telephone calls trying
to locate the two girls who were going with me to the
beach, and I did some sewing. I went in the den and
mended a bathing_suit that I was going.to take to the

beach.

Q You did that in the den?

.A Right. And l packed my clothes. I had my bed just

filled with my bag of clothes and a great big tote bag

on the floor that had my beach clothes, towels and things
like that in it§ and then about 9330, l remembered knowing
the time because my clock is across my bed on a little....
under a night cable on s little shelr, ana l went in the
kitchen and thought I'd.better get me something to eat,'
and get the rest of my food ready for the beach, and l was
in there I guess maybe ten minutes and when 1 came out....
Q You were in the kitchen about ten minutes?

A 7 Probably.

 

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Q What did you fix yourself to eat?

A l had a hamburger and broccoli and a hamburger bun.

`Q You had been in the den sewing and reading?4 Is that

right?

A 'Yes.

Q Describe the lighting in the den.

A' Well, l have a floor lamp, two floor lamps, one floor
lamp that I nas using across the room,and I also have a

desk lamp, and then l have bridge lamps that l use at my

game table.

coURT; sow, this is in the aen?

A This is in the den.
Q Floor lamps?

A Yes.

_1_'D

Has it on?
A Yes, my floor lamp was on.

Q And what other lamp?

.A Nothing.

Q ls this the only lamp that was on, the floor lamp?
A_ sight. signt.

RONALD BOWERS!

Q Was your television on?4

A Hy television was on. My light-~~'

 

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1 Q `Uid_that provide illumination in.the room?

2 a Yes.

3_ 'Q dill you describe...you say your bedroom, you made :
4 several telephone calls in your.bedroom? h

5 A Right.

5 Q Eescribe the lighting in your bedroom.
7 A l have a lamp_above my bed, a reading lamp.
8 Q Has that on?

A
10 Q Bid that fully illuminate the room?

ll A Definitely.

12 Q there was...you say the telephone was where now?

13 l - ca the bed. 1

14 Q ind wLere in relation to_that lamp was the telephone?
15 A ibout this far. The_pillow Was here (indicating).

16 Q Egurge showing the positions there to be about three

17

Ha

eet, is that right?
'8 A algat. `

19 Q lou indicated that there was a hallway that ran"
29 between your :itchen and the den, is that right?

21 a slant.

22 Q tag there a light in that hallway, ma'am?

23 A Yes.

24 Q that sort of llgnt?

25 g EBSK light. h table lanp,

 

 

 

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ind did that light illuminate the hallway? ‘
z " h §es.
3 v
4 CGURT: Was it on? -

5 1-\ res .

6
7 RONALD BDWERS:
8 Q Hhere in relation to that table lamp in the hallway
l 9 res the base of the staircase?
l° A lt was about as far as, you know, l.....that chair
11 right there, that first chair.
.‘2 2 lt the jury box?
‘3' l a:_g.zt.
ii n 14 Q That would be.a distance of about ei=ht or nine feet?
15 § Probably.
16 Q Gnce`you‘d fixed your hamburger, describe what you
17 ala tx~.en. _
18“ 3 Hell, l came out of the kitchen and l thought, well,
19~

IPll go in there and clean up after l finish eating, add

20 l come on bach through the hall, and as T entered my den

21 door, l took_about two or three steps and something dust
22 fell on net 'I‘thought that my bookcase had fallen on me
23 that was on the wall,_and I was....I had no idea nhat it

§ 24 nas, and then all of a sudden, this arm grabbed me. -He
25

 

hit me so hard that l really didn't know what it was. l

 

 

 

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looked earn end I sut- tl_is er around me thut had a black

glove on end a black gasket t3 e, end l screamed and

v“ollered end I eeid, you know, What do you weut. hud he_

mushtd me up against the game table end then he threw me
down n the floor, ’hd I was screaming and hollering and-
eet if I iidn't etop my screaming end hollerlng
he‘u out m3 thro at, end he had already put the knife at
my thr et before he threw me down, end he got across my
feet, end l guess to keep ue from kicking end hul~ti ag him,
I dou‘t hhsw. Anyway, I held wwl t do you waut? l Wes So
frlgrtenef l eouldn't stand it. He said I want all your
money en~ l said l don‘t have much money in the houee, but
I said you can lzeve all thetI have, end if you want more,
I'll get you all that you went. I eald my money is _u my
poohetbooh on my hed, and eo with that he kept Saylngj
you know, doh't etop....don't oereem, don't holler, ion‘t..
'ix you dc I'll cut your throat, or don't look at my face,
end he kept saying dou't_look at my face; and so I....‘
Q Eid you look et his faoe?
A Yes, I looked at his facz. I Couldn‘t help but see
his faee.
Q Hhere were you then?

On the floor in the den.
Q Here you on your stomach, or on your bech?

A On my beck.

 

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'no way not to see him.

 

Q Where was his face in relation to you?

A He was across my legs and looking at me and there was

Q l describe the man.
A Describe him?

Q les.

A He had a little tiny mustache, looked like a pencil

mark. He had an unshaven beard. lt was sort of a....

CDURT: If you will go a little slower
for me, if you will.
A I'm sorry.

n

z l know it's hard for you to testify. He had a tiny

mustache?

§ Eust a little streak of something across his upper
lip. n -
l Al:ight.

A .....he had a beard that was sort of spotted like,
end he had a toboggan on that was pulled down over his

F.=,B.I‘.S .

RONALD BOWERS:

Q Did the toboggan in any Way obscure the face of that
man?
A Ho.

 

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Q

Blaok man.

Describe his complexion as best you can.

Was that a white man or a black man?

Yellow looking.
ss opposed to what?
is opposed to a black man.

Do you mean by that he was some other race than a

black person, or that his skin was not totally black?

A

Just not totally black. Not like, you know, a real

blue black, black man, you know. (laughter).

Q

JUDGE: I just want to say, Sheriff....

MRS. BGST: I'm trying to explain....

-'-u

uJDGEi Any outbursts over here, I'll send
uhoever it is out of this courtroom just
thet-Eest. He‘re not going to tolerate it.
You're a guest of this Court and you're

welcome here so long es you behave yourself

5 in_a proper manner.

You described some sort of a jacket. Would you tell

the Court what sort of jacket were you talking about?

A

_touoh.

It_was a black leather jacket. Slick and cool to the

lt was not swede or cotton or anything like that.

It was a leather type.

 

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§ ind where were you in relation to that television set

' that you had on?

`A Let's see. As close as this young lady is.

Q ns close as you are to the court reporter?

n l sight . -

Q end would that be a distance of six or eight feet?
n ?robably.

Q Has the face of that man toward the television or....
d Yes, it was toward the television.

Q Has his face illuminated by the light of the
television?

A Yes, and you could see the Whites of his eyes
.underneath, you know. He was looking up, you know, and
it w-s extremely frightening.

Q Did you get a good, clear and accurate look at his t
face?

A Oh, and he kept telling me not to look at his face.'
Q And what was your reaction to that remark?

A Oh, I said-l don't want to see your face. I said l
don't want to see your face.. Everytime he told me, all
during the entire time he was in my house, he kept saying,
don't look at my face, and l didn't want to see his face.
I never wanted to see his face again.

Q Did you look at his face?

A Yes. How could I help but look at his face?

 

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Q¥ Did you concentrate on looking at his face?

A l made an effort after he....l realized that he _
didn't went me to see his face, and I thought oh, I‘llj
never get out of here alive, but if l do, I*ve got to

identify him. I had no idea I'd ever get out elive.
MR, FHLLER: OBJECTION.
Junes; ovERRULED.

Q What did you then do, ma'am?

A l had told him that he-could have all the money that
I had, and so with that ne scrambled up and he grabbed

me by my arm and took me into my bedroom where my purse
was, and l looked in myy...he stood behind me and held_
on to me, and then I looked through my purse and I looked
end I said well, I don't have any money, it's all gone,
end evidently he had already been in there-end taken my
money.

Q Did you have money in that pocketbook earlier?

A res, I had fifteen dollars.

Q Did you look in the,...

A l looked into the pocketbook and_he....I know he must
have been mad when he first attacked me because he had

this attitude.»..

MR.'FULLER: oBJEcTION.`

 

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ounces sus'mj:mro.

.A ....Well, he was mad the way he attacked me, and I

looked in my pocketbook everywhere to see where my money`
was'and l could find no money. l said, let me make one
telephone call and I'll get you all the money you want,
and he, of course, grabbed me and he said, no, I wasn't
allowed to make a telephone call, He, you know, refused
to let me make a telephone call, and with that, he pulled
me very quickly up the hall, out the door and up the hall,
and I said, where are you taking me?

Q Now, before you left the bedroom, you said you had

`conversation with him next to your bed?

Yes.

A
Q Where was he in relation to you at that time?

op

\/

4

He was standing behind me and then he realized thatl

light was on, on his face, so he moved to the side of me.
MR. FULLER: OBJECTION.
JUDGE: OVERRULED.

A .....so'he moved to the side of me, which is in the

door of the bathroom, and so....

`Q Were you able to see the face of that man at that

location?`
A Yes. Yes.

 

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up and I said I don‘t have any money.

b §§ Y' 53 $’ éD

 

a How far were you....

Aj Hhen I....when l saw there was no money l just looked

Q Hhat then happened?

A He pulled me up the hall and into a, the little stool
there by the table in the hall where the lamp is and
bruised my legs, and I said where are you taking me, where

are you taking me? And he said I'm going to take you

- upstairs to perform a sexual act. end I....

Did he say perform a sexual act?

Ho.

What then happened?

And he said it, but not in those.words.

Where did he take you?

He took me to the foot of the steps and I refused to
go and.... 1
Q ' How did you refuse?

A I just....l put my feet on the bottom steps and l
just refused and resisted all l could. l
Q How were you dressed?

A l had a housecoat on and pants and pantyhose.

Q Go eheed. l

A And when he realized that I was not going upstairs
with him, he put his hands all over me, and then he took

his hand and he ripped my housecoat off, and then he put

 

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'A sir?

 

his mouth on me.

Q What portion of your body?

Q ’What portion of your body?

n M breasts.

Q _ Go ahead.

A And then he put his hands down here and he realize
l had on pantyhose and pants, and he said I'm going to
get these, you know, horrible, Whatever, he cursed and

said I'm going to get them off of you, and so he threw

’me down on the floor and l just knew I'd never get out

alive. Ee said he was going to make me put my mouth on
hin§ He sat down....he was on his knees and he opened

his pants and held my head and made me put my mouth on

'him.

Q Nhat happened then?‘

A _ Then he very quickly drew his feet across my head and
put his head down here. We fought and scuffled and he;
said don't look at my face,.don‘t look at my face. I‘m
going to, you know, a horrible word.

Q,4 Did he say sexual intercourse?

A signt.

Q Go ahead, ma'am.

A se said 1 got fifteen minutes to_ao this to you. se

4'said'I've got three buddies out there waiting on me. I'm

 

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going to go get then in fifteen minutes5 and he....

Je did then straddle your face with his feet?
,Dis ne ever change that position?

Q To what other position?

A Ye just twirled around and got between my lees,
pulled his pants down, and said I‘ve got fifteen minutes,
said I‘m going to get my buddies.

Q Hhere were you in relation to that lamp in the hall¥

A Right in the doorway.

Q_ Eow far from the lamp?

a Just about as far as that chair.
Q about eight or nine feet?

A -Kight.

Q Was the face of that man illuminated by that light?
A Yes. He kept saying don't look at his face.

Q Did you look at his face?

A

Yes, and I again said I don't want to see your face

_ever again.-

Q How far was his face from your face when you looked

into his face?

A Right at me. Just....when a man's on top of you, how

close is his face to you? It's just right at me.

 

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.,-'*-.

 

1 Q Did you get o goodg clear unobstructed view of his

2 v fece?

3 `A Yos. `
4 Q 'What heppened then? w

5 s so ei~ what he woo going to do. Juot stout that time

6 the telephone reng, end I said I've got to answer the
7 telephone, I said I've got to answer the telephone because_

8 it's ny friends calling me end they'll be here if I don't.

9_ So he, just momentarily, he got up and stopped whet he

10 was doing and he said you let me out the front door. Oh,
11 I‘ve never been so glad in my life. l Knew that if l ever
12 got to the front door that I would run es fast es I could
13 even if he cut my throet§ or stabbed me in the bechp or

14 his buddies got after ne, or whetever, I was going to run
\5- until l just dropped deed. 'So we sorambled to the front
16 door. It‘s s trichy door. You have to push on it end

17 unlock it, which I did, and I opened the door, and when I
18 did he pushed me bach. I set down on the floor. He v

19 walked out the door. I ran up....I crewled up to the door
y20 ~and slammed it because I knew thet it had a night latch
21 _`on it, one that ho would not to ohio to got book into the
22 house, and I didn't know how he got in the house. .I
.23 just....I thought Well, he'd got in Some window or
24 something.

25 Hs. FULLER= ostcTIoN.

 

 

 

 

 

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1 _ _ J'"o_tos: sustained

2 v

3 .A' ....;l meant downstairs. l thought possibly he had
4 gotten into.... ' » ' ;`
5 MR,` FULLEB: OBJECTION.

6 .

1 JUDGE: SUSTAIHED,.

3 Q Were you afraid of his re-entry?

9 '\

n Oh, l was so afraid that he would come back.
10. Q Hhat did you do next?
11 d 2 ran through the house down the hall. l unlocked the

125 back door-to the back porch. l unlocked the door into the

13j yerdl end I ran to my neighbor‘s house, and l banged on

14 the door and the two children came to the door, and they

15' started screami v. l was standing there with no clothes

1§ on, and l was screaming and the mother was in the bedroom,'
17 end she came out and said, you know, what in this world

18 is vrong, and l said a black man raped ne, and so she took
19, - '

ne into the bathroom and tried to calm me down and....;

20 ~Q Later did the ambulance arrive_there?

21 A She called her husband and told him.to get an

22 ambulance and the police.

23 Q Mrs. Bost} did you again see that individual that
24 night?

25 A ~Beg your pardon?

 

 

 

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Q

 

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Did you see that man who raped you again that evening?
No.
le the men who raped you here in this courtroom toddy?
'YeSo
Q Can you point him out?
A Yes.
NR. FUL T-"l=‘.: OBJECTIOH.
JUDGE:l oerRULED. b
Q Go ahead and point him out.
d lo the orange shirt.
§UDGE: Let the record show that....would
you point to hint Let the record show that
she's pointed to the defendant.
Q _Hrs. Bost, did you'talk With officers later that
evening? -
A Yes.

Q

And several days thereafter did officers come to your

house and request you to go to any courtroom on any d€y?

A .

¢-

Yes.
Who were those officers that came to your home?
Mr. Vogler and Mr. Taylor.

Would that be Mr. Taylor right here?
mght. ’

 

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`A Well he said....

 

Q Uhen Hr. Taylor came to your house, would you describe

to the Court what he asked you to do?

HR. FULLER: OEJECTION.
JUDGE. OVEBRULED.

Q Fhat instructions....did Mr. Taylor come to your-
house?

A Yes.

Q end he rented you to come to court?

A Right. -He said we would like for you to come to
court, to the courtroom. He said we don't know, we have
reason to helieve that maybe this day, or in a couple of
days if you would come. He implied that he would like for
me to come a couple of days maybe; that there might'be a
man in the courtroom that I could identify.

Q de the man who raped you?

a As the man who raped me, end I agreed that l would‘

come, and so he said....

JUDGE: And when was this Mrs. Bost?

ERS, BQ§L: Be§ your pardon?

§§§§§: ‘When was this? Has it that day, or
that night?

MRS. BOST: 'A week pursuant.;;.afterwards.

 

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Like the Sth of May I think. I've forgotten what-that
date was. v -
Q§Q§i: Hhat was the day of the Sunday?
nns, BosT: rue 25th or Aprii. 1
gyp§§; rue 25th or Aprii? ind this was
about a week after that?
MRS. BOST: I don't know the date. lt
could have been a couple of weeks. l was
4in the hospital a week and I'm sure it must

have beenq

0 Just describe.what Mr. Teylor told you.

n

n. ¥ell, he told me that....he said we don't know what,
whether ne'ii ve there. se dealt know-whether he'li be in
the audience. He don‘t know whether he‘ll be a witness in
a case. We don't hnow why he'll he there;l and you might
have to come two days or nore, and so that's the way it
was. end l agreed to come to court.

Q iad you any indication or description of the man he
was ta king about?

"T

.r.'$. icc n

Q Did he indicate the name of rny men he was talking

A Ho.
Q Did he tell you definitely that the man he was talking

about Would he there on the day he asked you to come to

 

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gage 35 Haj el knowing whether ze‘li ve tle?e er net.

W DL: `: cell you?
‘:r' \.~._, 4 ‘ a ._ .'1. ' '. _~ -. .1. ~.._. '\
1 ge vest said; god nnew$ meat ne di;n'n hnee. bo I

end e'd von ask_him if youthed to come eloie?
l think l asked him if<I ceuld bring a friend§er they
asked ne if i*d like to heine a friend. I agreed to

tying a fiiend, end, which wee my neighbor.

0 le that the same neighbor you ran to....
i Right.

a irs. Ehennell. _
3 He?e you given any information about the size, raee,
er deeeription of the person, or eex_of the person they
had in mindi

A No. Ho. Nothing like that was mentioned._

Q Were you hesitant in any gay to go to court, ma’&m?

A ' Yes, l was. I eae afraid that he might see me if it
happened to he the one that raped me, and l nas so afraid.
l don't hnow why I thought he might harm me,_or something,

and l agreed to come with glasses on and a wig. I

 

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h rrowed a wig so that l wouldn‘t he recognized.

Q Was that wig your idea, ma'am?

`A Yes.

Q ,And, did you, in fact, go to court on the lOth day of
May, 1976?

n Yes.

Q How Were you dressed When you went there?

n l had this navy blue suit on.

Q The same one you're wearing now?

A Yes.

Q .And you mentioned_e wi§.

A _l had a red wig on.

Q. Here you weering.anything elee?
A l had on a white shirt.

Q end did you`wear glasses of any sort?

l.
(b

A "fe, l wore glasses.

_Q Hhat sort of glasses?
A

Clear lens glasses that l drive ih.

Q ~clear lens? rob dark giasses?
A Right. No, l didn't wear my sun glasses§
hud when you arrived at the Courthouse, was that here.

in this county?

A Yes.

Q You arrived at the courthouse with officers?

A Yes.'

 

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Q tht officers?

A l believe it was Mr....l think....Hr. Vogler end Mr.

'Taylor. _
Q ,These gentlemen seated beside me?

4A Yes.

Q Before you went into the courtroom, were you given

any instructions, na'am?

h weii, they told ne where 11 would come ih, right there

at that door, and....

Cl

OURT:

 

s was it ‘h this courtroom

A In this courtroom.

Q lou came in through which door?
~A Thet doort

Q The hech-door?

A Yes.

,_P.ONAUJ sowERs:

Q Is it this courtroon, or some other courtroom in this
building?

A l don't hnow whether or not there!s another courtroom
in this huilding.

Q Was it on this floor, so far as you know?

A l think so.

 

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Do you hnow uhet courtroom it ras?

" A No.

<D

_ How did you get to the courtroom?

h z show that the Jhdge was sitting ih the middle that
day; l don{t know whether you turn this courtroom around
or not at all{ _

A. lou mean the Judge's position in relation to the
witness was different that this Judge's position?

A Right. Right.- lt was in the middle of the courtroom.
Q So, apparently it was some other courtroom than this,

one?

A ?ossibly.

 

COUBT: Possibly. This courtroom here in
this courthouse?

HRS. BOST: YeS.

331pr so:§rsss:

Q lou say you came in_the main door from the rear of,
the courtroom?

hight.

A .
Q 'Nhere did you sit in the courtroom?
A l sat on that side. 1

Q

The left side..
Right.

A .
Q 'Were you given any instructions by the officers before

 

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you sent into tlie courtroom, ms‘em?

l h They told me to sit on that side. l~don't think I

-sat in the right seat they said, but l just was nervous`

and scared to death, so l just sat§ you hnow....

Q Did you sit in the end.seat or some other seat?

A l set not on the end seat in ny....my friend set
beside of ne.

Q ` How many seats over from the eisle?

n l think ls st have been in the second, or third seat.
Q ln the instructions officers Taylor end Vogler gave
you before you went in the courthouse, did they indicate
that any rerson would be in that courtroom that day?

A 1'\10. .

Q Nhat instructions did they give you before you went-
into the oourtroom?

A 'hey just told me to sit there and to look around and
see if I saw anybody that l knew,o or the man that raped
me, and l did that. Before l came down to be seated, l
looked, you hnow, around to see if l could see any black
person, and I saw a few.

Q Approximately how many people were in the courtroom
that day? 1

A' Thirty-five, maybe forty-five, or fifty.

Q' Do you snow how many of those were black people and

how many white?

 

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A No, but there were blacks in there$ like maybe, a

dozen.

'Q And aid ei her of the officers point any person out_in

that courtroom before you went in?

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they tell you to look in any particular location?

A

Q Did they tell you that any person would be in any
location later?

A NO.

Q Did they tell you that any person would definitely
be there?

A No. I was perfectly....had plans for several days:
just to go to the courthouse because I didn't Know.

Q ~What happened once you got into the courtroom?

A Well, they had several calls, several cases on....a
White man beat his daughter, l think, and then there was

a black man who came in that door who had been from a
hospital; and he was brought into the courtroom for some
reason, I don't know why. Then the Judge was passing out
papers, or asking people who didn't have a lawyer; or
something, to come up,and there was a stand over there, and
they went up and were.in line and picked up some papers,

mdtli¢

Q- IHow many people came up front?

 

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_ A No.
Q

 

A. Hayhe six or eight.

n Q Did you notice whether they were black or white?

`A Maybe two of them were black, and then there were a `

couple of other cases that I just didn‘t pay any attention
to. They were whites and they were....there was a young
man sitting at a table right there that was reading out

a lot of information about certain court procedure, or
something I didn't know anything about, and I was

constantly just looking and....

_Q What happened then?

A 'The Judge asked for Ronnie`Wallace Long to come before
the....come up. l don't know how, where it was, you know.

Q Did that name mean anything to you at that time?

."~\ ' ?.‘IO.

Q. Had any person ever mentioned that name to you?
h No.
Q Did that name, onnie Long; mean anything more to you

than any.sther name you'd heard that.day?

A No.

Q How many different names had been called that day?

hA Oh, I don't knows There must have been twenty~five

or thirty possibly.

Q So, when you heard that name, it meant nothing to YOu?

what did you see?

 

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A He got up and cane down that aisle right there. He

and his father, and they stood for a while like that `

vand they stood and faced the Ju`dge, and his father was

on his left and. . . .

Q Did you recognize that man'?

151 Yes.

Q When did you first recognize him?

A ns he was walking up toward the Judg,e. I told my
neighbors I said, that‘s the one.

Q _You told Ers. Phennell at the time?

'A Yes.

Q `11Fnen did you tell her that?
A '\.»~Ihen he got up and started walking up to the desk._
O, Did` you, at that tine, know where officers Vogler and

'l‘aylor were in the courtroom‘?

ga "r’es. l had seen them. "i‘hey had been sitting in an

area over... .right there., up in the § wherever, in the-
other courtroom. j

G la the jury box in the other courtroom‘?

diana ' _

Q !\_.nd did either of then ease any motion, or indication
to you at any time‘?

s No.

Q, Did any officer, or` any person whatsoever make any

motion, or indication to you whatsoever?

 

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'A Ho, l really didn‘t look et them, you know, until

" after I realized that I had recognized him.

What did you do then, ma'am?

Well,'l had been sitting like this.

,You indicate your lapel across your face?
Bight, and so when l saw him, I just looked over here
at Mr. Vogler like that, and Mr. Taylor.

Q You raised your finger and pointed?

night.

@¢!>

What then happened?

A we just eat there_untii the Judge had finished with

him, and told him, I won‘t go into that,_but anyway,

-finished with him, and then the Judge dismissed them and

they came along this way and walked right by me.

Q When you say right by you, how close to you did that

man come to you?

This close.
As from you to the court reporter?
Rightr
And who was that man that walked by you, ma'am?
A Bonnie Long.
Q Is that the same man who raped you?
A Yes. y
Q What did you do then?
A

l sat there and just waited. _I just....I didn't know,

 

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you know, whether to get up and leave. l think they told

me just to, if l happened to identify him, to just sit.

They would take care of.me. They would come and get me,

and l-just sat there scared to death.-
Q How was Mr. Long dressed that day in court?
A He had on light, sort of a brown jacket and light

colored nants.

_Q Did you recognize any of the clothing as ever having

seen them before? v

A -No, I'd never seen....No, I‘d`never seen those clothes
before.

Q On that day, did Mr. Long have any facial hair?

A_ Yes.

Q What sort of facial hair?

_ A The same he had when he raped me.

d That being what me‘am?

'A n little tiny mustache and sort of a spotted, unshaven

beard.

Q Once Mr. Long had left the_courtroom, did any person
come to where you were?

A ' Yes, Mr. Vogler and Mr. Taylor came by and motioned to
me, and we went out into the hall area..

Q When you got into the hallway there, was Mr. LonB Still
there?

A. No.

 

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Q Nhat did vou do then. ma‘am?
y _ d l

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Iell, then we went to the police station.

g)

end when you arrived at the police station, where did
you go in the police station?

A_ We went into an office.

Q Before you left the courthouse, did you have any
conversation with the officers?

n res, they agree me if 1 thought that was....for sure,
are you sure?

Q What did you say?

A end l said yes. _

Q. Did you have any doubt in your mind? _

n l said there is no doubt in ny mind. Absolutely no
doubt.

Q So, you then went to the police station?

A Ri;ht.

Q What happened at the police station?
A Hell, they showed me some pictures.
Q Go ahead, maiam.

A They-showed me a....six or eight pictures, and they '
said can you identify this man that raped you? And I said,
looking through the pictures, I'd picked him out.

d `When they said can you identify this man, did they
show you a particular photograph? l

A Oh, no, Oh, no,

 

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Q Uhat iii they dO?

n They just handed me pictures.

Q You say you saw how many pictures? z-

A ,Iaybe six.
Q ind was there any writing on the front of any of

those pictures at the time you saw them?

I'~:>

No.

Q Did you look at the back of those pictures?

A No. v

Q dod you were given pictures and you looked at the
front of~tnem, is that rignt?

n Right.

_»

ug Here those pictures of men or women?

r`

a Hen. One looked like it might have been a woman. lt

_:eemed to ne like it was a hairdo that maybe was.

s `rsu could not teii?

v T

a _ don't think so. I'm not sure.

and were those persons depicted in those photographs
black or rhite?

A They were black.

Q- ali or them?

d Yes.

Q Nas there anything distinctive about the dress of any
of those individuals depicted in those photographs that

drew your attention to them?

 

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~LGSI
What Was that?

It was the jacket.

isnd did you recognize the jacket?

It was....if it wasn't the jacket, it was the identical,
identical to it. lt sas a leather jacket.

Bid you look at the faces of those individuals?
Definitely.

ind did you recognize the face of any of those

individuais?

A

4 Ql

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jack

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Q

Yes£
Which individual did you recognize, ma‘am?
Ronnie Long.

Did you recognize him by his jacket, or by his face?
By his face.

If another individual had been wearing that same

iet,'Would it have made any.difference to you?

I don’t think so.
MR. FULLER: OBJECTION.
JUDGE: SUSTAINED.

Mrs. Bost, was that the first group of photographs

you had been shown?

A.

No.

 

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.Hhen had you been shown photographs prior to that?

In the hospital.
When?

In the hospital.

When?

Oh, the next day.

- After the rape occurred?

Right.

How many photographs were you shown in the hospital?
A half a dozen maybe. Maybe a dozen.

And'were you able to identify any of the photographs
were shown in the hospital? 1

No.

But you were shown a`group of photographs and your

- response was none of these?

That's right.
1.1R. mm ostcrIoN re LEAD:\:NG.
§§Q§§: Don't lead her.
MR, BOWERS: Yes, Your Honor.

The photographs that you were shown in'the hospital

were they in color or in black and white?

A
Q

Black and white.

And the photographs you were shown at the police

 

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station on the tenth of May, were they in color or in

' black and white?

`A Blach and white.

Q I hand you a manilla envelope containing several
photographs, identified as State's Exhibit Eo. One in

this matter.
JUDGE: State's voir dire....

HH. BOWERS: State*s voir dire Exhibit

Io.~Gne, Yes, Your Honor.

Q ,....and ass if those photographs appear similar to
those photographs that you were shown in the hospital, or
are they different from those in the hospital?

A ' Yes, they are the ones I saw in the hospital.

Q And, at the time you were shown those photographs..§.
Would you count these photographs, ma'am?.

A~. There are ten.

Q At the time you viewed`those photographs in the
hospital, you said that you were not able to identify
any of the individuals there depicted?

A Uh-hum.

Q_ Are those photographs of men or women, ma'am? COuld

you_tell?

A Men.

 

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_33

 

'1 Q And are they black persons, or white persons?

2 n A They're blach.

3 .Q I hand you now a second envelope identified as Statejs
4 voir dire Exhibit No. Two, and ash if you can identify

5 that, ma‘am? If you would just look at them. Do these

6 appear similar to the photographs shown to you on the

7 tenth of May in the police station, or different from

8 those photographs?

9 A They area they're the ones, yes. l

10 Q 1 At the time you first saw those photographsp was there
11 any marking on the face of any of those photographs?

11 A I don't know.

`:13 ‘Q Do you remember any marking being on there?
14' A l don't remember any markings, no.
15 Q Is there a mar1ing on any of them now?

16 A Yes.

17 Q Whioh one is that?

18 A Well, all of them except I think this....

19 Q In the police station, were you able to identify....
20 A vAre you talking about the identification down here?

21 Q No, any markings put there by pen, or ink, or anything

22 like that?

23 A Oh, l thought you meant any, you snow, I don't know.

24 Q Now, you thought l meant some writing put on the
.25 photograph?

 

 

 

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1 A Right. '-11hat. . . .

z " Q l €'Iell, was there any writing put there by pen, or inh,
3 ' prior to your seeing them at the police station‘?

4 11 1-10, not

5 Q_ lls there any pen, or in`rL writing on the face of any

5 ` of the photographs now‘?

7 A Right.

3 Q 'fou say that was not there when you first saw them‘?

9 A ho. v

10 Q ilfhen you were shown those photographs, identified as _
11 State's voir dire Exhibit wo, how were you given those
12 photographs, in what manner‘?

13 A -I was just asked if I'.d look through those and see

14 if 1 1“ecognised any face.

15 Q And '=.':as,,were you: able to identify any individual?

16 -A `fes, ;.-es, immediately.

17 Q '-.-Ias that the photograph of Ronnie illallace Long? ls
18 there writing now on the face of 'that?

19 A Yes;

20 Q 1‘-.'ould you read that writing to the Court‘?

.z1 A lt says iiay ten, and then it has DD or DT._

zz Q Mrs. Bost, 'a moment ago you indicated that the man
23_ n that raped you was the defendant, Nr. Ronnie Wallace Long.
24 Was that identification based on seeing him in your home,

25 seeing him in the courtroom, seeing his photograph, or

 

 

 

 

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\ l on something else?

1 2 "A Seeing him in my home. I‘ll never forget it as long

 

4 Q Is there any doubt in your mind whatsoever?
_5 A None whatsoever.
6 - _ _
CROSS EXAMINATION BY MR. ATKINS:
7 _
' 8 Q' Mrs. Eost, when you were in your home on Union Street,

9 l believe you testified that at approximately nine-thirty,
\ . .

§ 10 you prepared yourself_something to eat in the hitchen. Is
l ` 11 that the correct tamez

12 A l had it practically prepared before 1 had thawed it,

- 13 and I was going baoh to put it on ny plate.

§ 14 Q _ Alright; you said that you looked at your clock and
15 tit sas nine-thirty.
15 A Uh-hum.
17 Q How, when you went into the kitchen, how long were you
18 in the kitchen? _
19 A Oh, probably five or ten minutes.
20 Q Did you eat in the kitchen, or did you have the food
21 with you when you cane out?
22 A I had my plate in my hand When l came out.
23 Q_ So, it was about'nine-thirty five when you say you
24 first felt something that you thought might have been your
25- bookoase? b

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